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                                                                            U.S. DISTRICT COURT


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                                                                             CENTRAL DISTRICT OF CALIFORNIA
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                                  UNITED STATES DISTRICT COURT
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                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
                                     October 2020 Grand Jury
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      UNITED STATES OF AMERICA,                      CR 20-579(A)-SVW
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                   Plaintiff,                        F I R S T
12                                                   S U P E R S E D I N G
                   v.                                I N D I C T M E N T
13
      RICHARD AYVAZYAN,                              [18 U.S.C. § 1349: Conspiracy to
14      aka “Richard Avazian” and                    Commit Bank Fraud and Wire Fraud;
            “Iuliia Zhadko,”                         18 U.S.C. § 1343: Wire Fraud; 18
15    MARIETTA TERABELIAN,                           U.S.C. § 1344(2): Bank Fraud and
        aka “Marietta Abelian” and                   Attempted Bank Fraud; 18 U.S.C.
16          “Viktoria Kauichko,”                     § 1028A(a)(1): Aggravated Identity
      ARTUR AYVAZYAN,                                Theft; 18 U.S.C. § 1956(h): Money
17      aka “Arthur Ayvazyan,”                       Laundering Conspiracy; 18 U.S.C.
      TAMARA DADYAN,                                 § 1956(a)(1)(B)(i): Money
18    MANUK GRIGORYAN,                               Laundering; 18 U.S.C. § 3147:
        aka “Mike Grigoryan,” and                    Offense Committed While on
19          “Anton Kudiumov,”                        Release; 18 U.S.C. §§ 981, 982,
      ARMAN HAYRAPETYAN,                             1028 and 28 U.S.C. § 2461(c):
20    EDVARD PARONYAN,                               Criminal Forfeiture]
        aka “Edvard Paronian” and
21          “Edward Paronyan,” and
      VAHE DADYAN,
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                   Defendants.
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1          The Grand Jury charges:

2                                        COUNT ONE

3                                   [18 U.S.C. § 1349]

4                                    [ALL DEFENDANTS]

5     A.   INTRODUCTORY ALLEGATIONS

6          At times relevant to this First Superseding Indictment:

7          1.    Synthetic identities were false identities created using

8     certain personally identifiable information, such as names, dates of

9     birth, and social security numbers, that typically consisted of a

10    combination of stolen and fictitious information.          Synthetic

11    identities could be used to create false business names and entities.

12         THE DEFENDANTS

13         2.    Defendant RICHARD AYVAZYAN, also known as (“aka”) “Richard

14    Avazian” and “Iuliia Zhadko” (“R. AYVAZYAN”), was a resident of

15    Encino, California.

16         3.    Defendant MARIETTA TERABELIAN, aka “Marietta Abelian” and

17    “Viktoria Kauichko,” was a resident of Encino, California.            Defendant

18    TERABELIAN and defendant R. AYVAZYAN were married.

19         4.    Defendant ARTUR AYVAZYAN, aka “Arthur Ayvazyan”

20    (“A. AYVAZYAN”), was a resident of Encino, California.           Defendant A.

21    AYVAZYAN and defendant R. AYVAZYAN were brothers.

22         5.    Defendant TAMARA DADYAN (“T. DADYAN”) was a resident of

23    Encino, California.     Defendant T. DADYAN and defendant A. AYVAZYAN

24    were married.

25         6.    Defendant MANUK GRIGORYAN, aka “Mike Grigoryan” and “Anton

26    Kudiumov,” was a resident of Sun Valley, California.

27         7.    Defendant ARMAN HAYRAPETYAN was a resident of Glendale,

28    California.

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1          8.    Defendant EDVARD PARONYAN, aka “Edvard Paronian” and

2     “Edward Paronyan,” was a resident of Granada Hills, California.

3          9.    Defendant VAHE DADYAN (“V. DADYAN”) was a resident of

4     Glendale, California.

5          THE PAYCHECK PROTECTION PROGRAM

6          10.   The Coronavirus Aid, Relief, and Economic Security

7     (“CARES”) Act was a federal law enacted in or about March 2020 that

8     was designed to provide emergency financial assistance to Americans

9     suffering economic harm as a result of the COVID-19 pandemic.            One

10    form of assistance provided by the CARES Act was the authorization of

11    United States taxpayer funds in forgivable loans to small businesses

12    for job retention and certain other expenses, through a program

13    referred to as the Paycheck Protection Program (“PPP”).

14         11.   In order to obtain a PPP loan, a qualifying business was

15    required to submit a PPP loan application signed by an authorized

16    representative of the business.       The PPP loan application required

17    the small business (through its authorized representative) to

18    acknowledge the program rules and make certain affirmative

19    certifications in order to be eligible to obtain the PPP loan.            One

20    such certification required the applicant to affirm that “[t]he [PPP

21    loan] funds w[ould] be used to retain workers and maintain payroll or

22    make mortgage interest payments, lease payments, and utility

23    payments.”    The applicant (through its authorized representative) was

24    also required to acknowledge that “I understand that if the funds are

25    used for unauthorized purposes, the federal government may pursue

26    criminal fraud charges.”      In the PPP loan application, the applicant

27    was required to state, among other things, its: (a) average monthly

28    payroll expenses; and (b) number of employees.          These figures were

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1     used to calculate the amount of money the small business was eligible

2     to receive under the PPP.      In addition, the applicant was required to

3     provide documentation showing its payroll expenses.

4          12.   A business’s PPP loan application was received and

5     processed, in the first instance, by a participating financial

6     institution.    If a PPP loan application was approved, the

7     participating financial institution would fund the PPP loan using its

8     own monies.

9          13.   PPP loan proceeds were required to be used by the business

10    on certain permissible expenses, namely, payroll costs, interest on

11    mortgages, rent, and utilities.       The PPP allowed the interest and

12    principal on the PPP loan to be entirely forgiven if the business

13    spent the loan proceeds on these expenses within a designated period

14    of time and used at least a minimum amount of the PPP loan proceeds

15    towards payroll expenses.

16         THE ECONOMIC INJURY DISASTER LOAN PROGRAM

17         14.   The Economic Injury Disaster Loan Program (“EIDL”) was a

18    United States Small Business Administration (“SBA”) program that

19    provided low-interest financing to small businesses, renters, and

20    homeowners in regions affected by declared disasters.

21         15.   The CARES Act authorized the SBA to provide EIDL loans of

22    up to $2 million to eligible small businesses experiencing

23    substantial financial disruption due to the COVID-19 pandemic.

24         16.   To obtain an EIDL loan, a qualifying business was required

25    to submit an application to the SBA and provide information about the

26    business’s operations, such as the number of employees, gross

27    revenues for the 12-month period preceding the disaster, and cost of

28    goods sold in the 12-month period preceding the disaster.           In the

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1     case of EIDL loans for COVID-19 relief, the 12-month period was the

2     12-month period from January 31, 2019, to January 31, 2020.            The

3     applicant was also required to certify that all of the information in

4     the application was true and correct to the best of the applicant’s

5     knowledge.

6          17.   EIDL loan applications were submitted directly to the SBA

7     and processed by the agency with support from a government

8     contractor.    The amount of the loan, if the application was approved,

9     was determined based, in part, on the information provided by the

10    applicant about employment, revenue, and cost of goods sold, as

11    described in paragraph 15 above.       Any funds issued under an EIDL loan

12    were issued directly by the SBA.

13         18.   EIDL loan funds could be used for payroll expenses, sick

14    leave, production costs, and business obligations, such as debts,

15    rent, and mortgage payments.       If the applicant also obtained a loan

16    under the PPP, the EIDL loan funds could not be used for the same

17    purpose as the PPP loan funds.

18         RELEVANT LENDING INSTITUTIONS

19         19.   Lenders A, B, C, D, E, G, and H were financial institutions

20    insured by the Federal Deposit Insurance Company (“FDIC”) that were

21    approved SBA lenders of PPP loans.

22         20.   Lender F was a financial institution that was an approved

23    SBA lender of PPP loans.

24         BANK ACCOUNTS CONTROLLED BY THE DEFENDANTS

25         21.   Banks 1, 2, 3, 4, 5, 6, 7, and 8 were financial

26    institutions insured by the FDIC.

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1          22.    Defendant R. AYVAZYAN controlled and/or was a signatory (in

2     his legal name or using one of his aliases) on the following bank

3     accounts:

4                 a.   A business checking account at Bank 1 in the name of

5     “Timeline Transport, Inc.” (the “Timeline Transport Bank 1 Account”);

6                 b.   A business checking account at Bank 2 in the name of

7     “Inception Ventures Inc.” (the “Inception Ventures Bank 2 Account”);

8                 c.   A business checking account at Bank 3 in the name of

9     “Iuliia Zhadko dba Top Quality Contracting” (the “TQC Bank 3

10    Account”);

11                d.   A business checking account at Bank 7 in the name of

12    “Mod Interiors, Inc.” (the “Mod Interiors Bank 7 Account”);

13                e.   A business checking account at Bank 5 in the name of

14    “Turing Info Solutions Inc.” (the “Turing Info Bank 5 Account”); and

15                f.   A personal checking account at Bank 5 in the name of

16    “Iuliia Zhadko” (the “Zhadko Bank 5 Account”).

17         23.    Defendant TERABELIAN controlled and/or was a signatory (in

18    her legal name or using one of her aliases) on the following bank

19    accounts:

20                a.   A personal checking account at Bank 2 in the name of

21    defendant TERABELIAN (the “Terabelian Bank 2 Account”);

22                b.   A business checking account at Bank 2 in the name of

23    “Runyan Tax Service Inc.” (the “Runyan Tax Bank 2 Account”); and

24                c.   The Mod Interiors Bank 7 Account.

25         24.    Defendant A. AYVAZYAN controlled and/or was a signatory (in

26    his legal name or using his alias) on the following bank accounts:

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1                 a.   A business checking account at Bank 2 in the name of

2     “Allstate Towing and Transport LLC” (the “Allstate Towing Bank 2

3     Account”);

4                 b.   A business checking account at Bank 4 in the name of

5     “Allstate Towing and Transport LLC” (the “Allstate Towing Bank 4

6     Account”); and

7                 c.   A personal checking account at Bank 8 in the name of

8     A.D. (the “A.D. Bank 8 Account”).

9          25.    Defendant T. DADYAN controlled and/or was a signatory on

10    the following bank accounts:

11                a.   A business checking account at Bank 3 in the name of

12    “Secureline Realty and Funding, Inc.” (the “Secureline Realty Bank 3

13    Account”);

14                b.   A business checking account at Bank 5 in the name of

15    “ABC Realty Advisors, Inc.” (the “ABC Realty Bank 5 Account”);

16                c.   A business checking account at Bank 6 in the name of

17    “Secureline Realty and Funding, Inc.” (the “Secureline Realty Bank 6

18    Account”); and

19                d.   The A.D. Bank 8 Account.

20         26.    Defendant GRIGORYAN controlled and/or was a signatory (in

21    his legal name or using one of his aliases) on the following bank

22    accounts:

23                a.   A business checking account at Bank 4 in the name of

24    “G&A Diamonds” (the “G&A Diamonds Bank 4 Account”);

25                b.   A business checking account at Bank 2 in the name of

26    “Redline Auto Mechanics” (the “Redline Auto Mechanics Bank 2

27    Account”); and

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1                c.    A personal checking account at Bank 2 in the name of

2     “Anton Kudiumov” (the “Kudiumov Bank 2 Account”).

3          27.   Defendant HAYRAPETYAN controlled and/or was a signatory on

4     the following bank accounts:

5                a.    A business checking account at Bank 5 in the name of

6     “Arman Hayrapetyan DBA S. Construction” (the “S. Construction Bank 5

7     Account”);

8                b.    A business checking account at Bank 5 in the name of

9     “Arman Hayrapetyan DBA H. Construction Co.” with account number

10    ending in 1511 (the “H. Construction 1511 Bank 5 Account”);

11               c.    A business checking account at Bank 5 in the name of

12    “Arman Hayrapetyan DBA H. Construction Co.” with account number

13    ending in 9066 (the “H. Construction 9066 Bank 5 Account”); and

14               d.    A personal checking account at Bank 5 in the name of

15    defendant HAYRAPETYAN.

16         28.   Defendant PARONYAN controlled and was a signatory (in his

17    legal name or using his alias) on the following bank accounts:

18               a.    A business checking account at Bank 5 in the name of

19    “Redline Auto Collision, Inc.” (the “Redline Auto Collision Bank 5

20    Account”); and

21               b.    A personal checking account at Bank 5 in the name of

22    defendant PARONYAN (the “Paronyan Bank 5 Account”).

23         29.   Defendant V. DADYAN controlled and was a signatory on the

24    following bank account:

25               a.    A business checking account at Bank 3 in the name of

26    “Voyage Limo LLC” (the “Voyage Limo Bank 3 Account”).

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1     B.   THE OBJECTS OF THE CONSPIRACY

2          30.   Beginning no later than in or around March 2020 and

3     continuing until at least in or around August 2020, in Los Angeles

4     County, within the Central District of California, and elsewhere,

5     defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T. DADYAN,

6     GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN conspired with one

7     another and with others known and unknown to the Grand Jury to

8     commit: (a) wire fraud, in violation of Title 18, United States Code,

9     Section 1343; and (b) bank fraud, in violation of Title 18, United

10    States Code, Section 1344(2).

11    C.   THE MANNER AND MEANS OF THE CONSPIRACY

12         31.   The objects of the conspiracy were to be carried out, and

13    were carried out, in substance, as follows:

14               a.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

15    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

16    with other coconspirators, used and caused to be used, stolen,

17    fictitious, and synthetic identities of individuals to submit

18    fraudulent applications for PPP and EIDL loans.

19               b.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

20    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

21    with other coconspirators, used and caused to be used, stolen,

22    fictitious, and synthetic business names to submit fraudulent

23    applications for PPP and EIDL loans.

24               c.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

25    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

26    with other coconspirators, made and caused to be made, false

27    statements to the SBA and financial institutions in connection with

28    the fraudulent applications for PPP and EIDL loans, including false

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1     representations regarding the number of employees to whom the

2     companies had paid wages and false certifications that the loans

3     would be used for permissible business purposes.

4                 d.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

5     DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

6     with other coconspirators, electronically submitted, and caused to be

7     submitted, false documents to the SBA and financial institutions in

8     support of the fraudulent PPP and EIDL loan applications, including

9     false or fictitious tax documents, payroll records, bank records, and

10    identification documents.

11                e.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

12    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

13    with other coconspirators, directed the other defendants and their

14    coconspirators to deposit PPP and EIDL loan proceeds into bank

15    accounts that defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

16    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, and their

17    coconspirators controlled.

18                f.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

19    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

20    with other coconspirators, laundered and used the fraudulently

21    obtained PPP and EIDL loan proceeds for their own personal benefit

22    and for the benefit of their coconspirators, including for expenses

23    prohibited under the requirements of the PPP and EIDL programs, such

24    as the purchase of residential properties at Address 1 in Tarzana,

25    California (“Residential Property 1”), Address 2 in Glendale,

26    California (“Residential Property 2”), and Address 3 in Palm Desert,

27    California (“Residential Property 3”), gold coins, diamonds, jewelry,

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1     luxury watches, fine imported furnishings, designer handbags and

2     clothing, cryptocurrency, and securities.

3           32.   As part of the conspiracy, between in or around March 2020

4     and in or around August 2020, defendants R. AYVAZYAN, TERABELIAN,

5     A. AYVAZYAN, T. DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V.

6     DADYAN, together with other coconspirators, submitted and caused the

7     submission of at least 151 fraudulent PPP and EIDL loan applications

8     seeking a total of at least $21.9 million in PPP and EIDL proceeds

9     from the SBA and at least 11 financial institutions, and received a

10    total of at least $18 million in PPP and EIDL loan proceeds from the

11    SBA and financial institutions.

12    D.    OVERT ACTS

13          33.   On or about the following dates, in furtherance of the

14    conspiracy and to accomplish its objects, defendants R. AYVAZYAN,

15    TERABELIAN, A. AYVAZYAN, T. DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN,

16    and V. DADYAN, together with other coconspirators, committed and

17    willfully caused others to commit the following overt acts, among

18    others, within the Central District of California:

19                  S. Construction and H. Construction PPP Loans
20          Overt Act No. 1:       On or about April 16, 2020, defendant

21    HAYRAPETYAN, together with other coconspirators, used the name and

22    social security number of D.S., a real person, to submit and cause to

23    be submitted to Lender H an application in the name of S.

24    Construction, seeking a PPP loan in the amount of $182,637, which

25    application: (a) falsely represented that S. Construction had 16

26    employees and an average monthly payroll of $73,055; and (b) falsely

27    certified that the purported applicant, D.S., would use the loan

28    proceeds only for permissible business purposes.

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1           Overt Act No. 2:       On or about April 18, 2020, defendant

2     HAYRAPETYAN together with other coconspirators, used the name and

3     social security number of M.H., a real person, to submit and cause to

4     be submitted to Lender H an application in the name of H.

5     Construction, seeking a PPP loan in the amount of $130,000, which

6     application: (a) falsely represented that H. Construction had 12

7     employees and an average monthly payroll of $52,000; and (b) falsely

8     certified that the purported applicant, M.H., would use the loan

9     proceeds only for permissible business purposes.

10          Overt Act No. 3:       On or about May 1, 2020, defendant

11    HAYRAPETYAN, together with other coconspirators, caused Lender H to

12    wire approximately $182,637 in proceeds from the S. Construction PPP

13    loan to the S. Construction Bank 5 Account.

14          Overt Act No. 4:       On or about May 1, 2020, defendant

15    HAYRAPETYAN caused Lender H to wire approximately $130,000 in

16    proceeds from the H. Construction PPP loan to the H. Construction

17    1511 Bank 5 Account.

18          Overt Act No. 5:       On or about May 4, 2020, defendant

19    HAYRAPETYAN, together with other coconspirators, caused approximately

20    $250,000, comprised in part of the S. Construction PPP loan proceeds,

21    to be wired from the S. Construction Bank 5 Account to the H.

22    Construction 9066 Bank 5 Account.

23          Overt Act No. 6:       On or about May 4, 2020, defendant

24    HAYRAPETYAN, together with other coconspirators, caused approximately

25    $200,000, comprised in part of the H. Construction PPP loan proceeds,

26    to be wired from the H. Construction 1511 Bank 5 Account to the H.

27    Construction 9066 Bank 5 Account.

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1           Overt Act No. 7:       On or about May 4, 2020, defendant

2     HAYRAPETYAN, together with other coconspirators, caused a check for

3     approximately $50,000, drawn on the H. Construction 9066 Bank 5

4     Account and comprised in substantial part of the PPP loan proceeds

5     for S. Construction and H. Construction, to be written to the order

6     of Fiber One Media, which check was endorsed on the back with the

7     name of defendant TERABELIAN’s alias “Viktoria Kauichko.”

8                              Secureline Realty PPP Loans
9           Overt Act No. 8:       On or about April 22, 2020, defendant T.

10    DADYAN, together with other coconspirators, submitted and caused to

11    be submitted to Lender D an application in the name of Secureline

12    Realty and Funding, Inc. (“Secureline Realty”) seeking a PPP loan in

13    the amount of $122,838, which application: (a) falsely represented

14    that Secureline Realty had eight employees, including employees for

15    whom it had paid wages and payroll taxes; and (b) falsely certified

16    Secureline Realty would use the loan proceeds only for permissible

17    business purposes.

18          Overt Act No. 9:       On or about April 22, 2020, defendant T.

19    DADYAN, together with other coconspirators, submitted and caused to

20    be submitted to Lender D false documents, including fake Internal

21    Revenue Service (“IRS”) Forms 940 and 941, in support of the

22    Secureline Realty PPP loan application.

23          Overt Act No. 10:      On or about May 7, 2020, defendant T.

24    DADYAN, together with other coconspirators, caused Lender D to wire

25    approximately $122,838 in proceeds from the Secureline Realty PPP

26    loan to the Secureline Realty Bank 3 Account.

27          Overt Act No. 11:      On or about May 9, 2020, defendant T.

28    DADYAN, together with other coconspirators, submitted and caused to

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1     be submitted to Lender E an application in the name of Secureline

2     Realty seeking a PPP loan in the amount of $137,500, which

3     application: (a) falsely represented that Secureline Realty had eight

4     employees, including employees for whom it had paid wages and payroll

5     taxes; and (b) falsely certified Secureline Realty would use the loan

6     proceeds only for permissible business purposes.

7           Overt Act No. 12:      On or about May 11, 2020, defendant T.

8     DADYAN, together with other coconspirators, caused Lender E to wire

9     approximately $137,500 in proceeds from the Secureline Realty PPP

10    loan to the Secureline Realty Bank 6 Account.

11          Overt Act No. 13:      On or about May 27, 2020, defendant T.

12    DADYAN, together with other coconspirators, caused a check for

13    approximately $136,000, drawn on Secureline Realty Bank 6 Account and

14    comprised in substantial part of the PPP loan proceeds for Secureline

15    Realty, to be deposited into the ABC Realty Bank 5 Account.

16          Overt Act No. 14:      On or about June 12, 2020, defendant T.

17    DADYAN, together with other coconspirators, caused approximately

18    $120,010, which in substantial part came from the PPP loan proceeds

19    for Secureline Realty, to be withdrawn from the Secureline Realty

20    Bank 3 Account and subsequently caused approximately $120,000 to be

21    deposited to the ABC Realty Bank 5 Account.

22          Overt Act No. 15:      On or about June 17, 2020, defendant T.

23    DADYAN, together with other coconspirators, caused approximately

24    $200,000 to be wired from the ABC Realty Bank 5 Account to the

25    Inception Ventures Bank 2 Account, for which defendant R. AYVAZYAN

26    was the sole signatory.

27          Overt Act No. 16:      On or about June 22, 2020, defendant

28    R. AYVAZYAN, together with other coconspirators, caused approximately

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1     $435,000, which in part came from the approximately $200,000 in PPP

2     loan funds defendant R. AYVAZYAN received from defendant T. DADYAN,

3     to be wired from the Inception Ventures Bank 2 Account to Escrow

4     Company 1 to be used to as part of the $3,250,000 purchase price for

5     Residential Property 1, which was purchased in the names of

6     defendants R. AYVAZYAN and TERABELIAN.

7                           Top Quality Contracting PPP Loan
8           Overt Act No. 17:      On or about April 30, 2020, defendant

9     R. AYVAZYAN, together with other coconspirators, used the name of

10    M.Z., a real person, to submit and cause to be submitted to Lender B

11    an application in the name of Top Quality Contracting (“TQC”),

12    seeking a PPP loan in the amount of $130,000.

13          Overt Act No. 18:      On or about April 30, 2020, in connection

14    with the TQC PPP loan application, defendant R. AYVAZYAN, together

15    with other coconspirators, submitted and caused to be submitted to

16    Lender B a fake copy of M.Z.’s California driver’s license and a fake

17    IRS Form 940 purportedly prepared and filed by M.Z.

18          Overt Act No. 19:      On or about May 8, 2020, defendant

19    R. AYZAYAN, together with other coconspirators, caused Lender B to

20    wire approximately $130,000 in proceeds from the TQC PPP loan to the

21    TQC Bank 3 Account, which listed defendant R. AYVAZYAN’s alias

22    “Iuliia Zhadko” and M.Z. as the only signatories.

23                               Allstate Towing PPP Loan
24          Overt Act No. 20:      On or about May 2, 2020, defendant

25    A. AYVAZYAN, together with other coconspirators, submitted and caused

26    to be submitted to Lender C an application in the name of Allstate

27    Towing and Transport LLC (“Allstate Towing”) seeking a PPP loan in

28    the amount of $124,000, which application: (a) falsely represented

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1     that Allstate Towing had 11 employees, including employees for whom

2     it had paid wages and payroll taxes; and (b) falsely certified

3     Allstate Towing would use the loan proceeds only for permissible

4     business purposes.

5           Overt Act No. 21:      On or about May 2, 2020, defendant

6     A. AYVAZYAN, together with other coconspirators, submitted and caused

7     to be submitted to Lender C false documents, including fake IRS Forms

8     940 and 941, in support of the Allstate Towing PPP loan application.

9           Overt Act No. 22:      On or about May 5, 2020, defendant

10    A. AYVAZYAN, together with other coconspirators, caused Lender C to

11    wire approximately $124,000 in proceeds from the Allstate Towing PPP

12    loan to the Allstate Towing Bank 4 Account.

13          Overt Act No. 23:      On or about May 21, 2020, defendant

14    A. AYVAZYAN, together with other coconspirators, caused approximately

15    $80,000, which in substantial part came from the Allstate Towing PPP

16    loan proceeds, to be wired from the Allstate Towing Bank 4 Account to

17    the Allstate Towing Bank 2 Account with the memo “BUSINESS TRANSFER

18    FOR PAYROLL PAYROLL [sic].”

19          Overt Act No. 24:      On or about June 3, 2020, defendant

20    A. AYVAZYAN, together with other coconspirators, caused approximately

21    $93,000, which in substantial part came from the Allstate Towing PPP

22    loan proceeds, to be wired from the Allstate Towing Bank 2 Account to

23    Escrow Company 1 to be used as part of the $3,250,000 purchase price

24    for Residential Property 1, which was purchased in the names of

25    defendants R. AYVAZYAN and TERABELIAN.

26                  G&A Diamonds and Redline Auto Collision Loans
27          Overt Act No. 25:      On or about May 3, 2020, defendant

28    GRIGORYAN, together with other coconspirators, including defendants

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1     R. AYVAZYAN and TERABELIAN, submitted and caused to be submitted to

2     Lender C an application in the name of G&A Diamonds seeking a PPP

3     loan in the amount of approximately $113,750, which application: (a)

4     falsely represented that G&A Diamonds had 12 employees, including

5     employees for whom it had paid wages and payroll taxes; and (b)

6     falsely certified G&A Diamonds would use the loan proceeds only for

7     permissible business purposes.

8           Overt Act No. 26:      On or about May 3, 2020, in support of the

9     G&A Diamonds PPP loan application, defendant GRIGORYAN, together with

10    other coconspirators, including defendants R. AYVAZYAN and

11    TERABELIAN, submitted and caused to be submitted to Lender C a fake

12    IRS Form 940 for 2019, which falsely represented that it had been

13    prepared by F.A., a professional tax preparer.

14          Overt Act No. 27:       On or about May 5, 2020, defendant

15    GRIGORYAN, together with other coconspirators, including defendants

16    R. AYVAZYAN and TERABELIAN, caused Lender C to wire approximately

17    $113,750 in proceeds from the G&A Diamonds PPP loan to the G&A

18    Diamonds Bank 4 Account.

19          Overt Act No. 28:      On or about May 7, 2020, defendant PARONYAN,

20    together with other coconspirators, including defendants R. AYVAZYAN

21    and TERABELIAN, submitted and caused to be submitted to Lender B an

22    application in the name of Redline Auto Collision Inc. (“Redline Auto

23    Collision”) seeking a PPP loan in the amount of $130,187, which

24    application: (a) falsely represented that Redline Auto Collision had

25    12 employees, including employees for whom it had paid wages and

26    payroll taxes, and average monthly payroll expenses of $52,075; and

27    (b) falsely certified Redline Auto Collision would use the loan

28    proceeds only for permissible business purposes.

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1           Overt Act No. 29:      On or about May 11, 2020, defendant

2     PARONYAN, together with other coconspirators, including defendants R.

3     AYVAZYAN and TERABELIAN, caused Lender B to wire approximately

4     $130,187 in proceeds from the Redline Auto Collision PPP loan to the

5     Redline Auto Collision Bank 5 Account.

6           Overt Act No. 30:      On or about April 2, 2020, defendant

7     PARONYAN, together with other coconspirators, including defendants R.

8     AYVAZYAN and TERABELIAN, submitted and caused to be submitted to the

9     SBA an application in the name of Redline Auto Collision seeking an

10    EIDL loan in the amount of approximately $150,000, which application:

11    (a) falsely represented that Redline Auto Collision had 4 employees,

12    including employees for whom it had paid wages and payroll taxes; and

13    (b) falsely certified Redline Auto Collision would use the loan

14    proceeds for permissible business purposes.

15          Overt Act No. 31:      On or about June 8, 2020, defendant

16    PARONYAN, together with other coconspirators, including defendants R.

17    AYVAZYAN and TERABELIAN, caused the SBA to wire approximately

18    $149,900 in proceeds from the Redline Auto Collision EIDL loan to the

19    Redline Auto Collision Bank 5 account.

20          Overt Act No. 32:      On or about April 8, 2020, defendant

21    GRIGORYAN, together with other coconspirators, including defendants

22    R. AYVAZYAN and TERABELIAN, submitted and caused to be submitted to

23    the SBA an application in the name of G&A Diamonds seeking an EIDL

24    loan in the amount of approximately $150,000, which application:

25    (a) falsely represented that G&A Diamonds had 5 employees, including

26    employees for whom it had paid wages and payroll taxes; and (b)

27    falsely certified G&A Diamonds would use the loan proceeds for

28    permissible business purposes.

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1           Overt Act No. 33:      On or about June 16, 2020, defendant

2     GRIGORYAN, together with other coconspirators, including defendants

3     R. AYVAZYAN and TERABELIAN, caused the SBA to wire approximately

4     $149,900 to the G&A Diamonds Bank 4 Account.

5           Overt Act No. 34:      On or about June 17, 2020, defendant

6     PARONYAN, together with other coconspirators, including defendants R.

7     AYVAZYAN and TERABELIAN, caused approximately $150,000, comprised in

8     substantial part of the proceeds from the Redline Auto Collision PPP

9     and EIDL loans, to be wired from Redline Auto Collision Bank 5

10    Account to the Terabelian Bank 2 Account.

11          Overt Act No. 35:      On or about June 19, 2020, defendant

12    GRIGORYAN, together with other coconspirators, including defendants

13    R. AYVAZYAN and TERABELIAN, caused approximately $100,000, which in

14    substantial part came from the proceeds from the G&A Diamonds PPP and

15    EIDL loans, to be wired from G&A Diamonds Bank 4 Account to

16    Terabelian Bank 2 Account.

17          Overt Act No. 36:      On or about June 22, 2020, defendants

18    R. AYVAZYAN and TERABELIAN, together with other coconspirators,

19    caused approximately $565,000, which in substantial part came from

20    PPP and EIDL loan funds obtained from the SBA and financial

21    institutions in the name of G&A Diamonds and Redline Auto Collision,

22    to be wired from the Terabelian Bank 2 Account to Escrow Company 1 to

23    be used as part of the $3,250,000 purchase price for Residential

24    Property 1, which was purchased in the names of defendants R.

25    AYVAZYAN and TERABELIAN.

26                                 Voyage Limo PPP Loan
27          Overt Act No. 37:      On or about May 18, 2020, defendant V.

28    DADYAN, together with other coconspirators, submitted and caused to

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1     be submitted to Lender B an application in the name of Voyage Limo

2     seeking a PPP loan in the amount of $157,500, which application:

3     (a) falsely represented that Voyage Limo had 11 employees, including

4     employees for whom it had paid wages and payroll taxes, and average

5     monthly payroll expenses of $63,000; and (b) falsely certified Voyage

6     Limo would use the loan proceeds only for permissible business

7     purposes.

8           Overt Act No. 38:      On or about May 18, 2020, defendant V.

9     DADYAN, together with other coconspirators, submitted and caused to

10    be submitted to Lender B false documents, including fake IRS Forms

11    940 and 941, in support of the Voyage Limo PPP loan application.

12          Overt Act No. 39:      On or about May 20, 2020, defendant V.

13    DADYAN, together with other coconspirators, caused Lender B to wire

14    approximately $157,500 in proceeds from the Voyage Limo PPP loan to

15    the Voyage Limo Bank 3 Account.

16          Overt Act No. 40:      On or about July 3, 2020, defendant V.

17    DADYAN, together with other coconspirators, caused approximately

18    $155,000, which in substantial part came from the Voyage Limo PPP

19    loan proceeds, to be wired from the Voyage Limo Bank 3 Account to

20    Runyan Tax Bank 2 Account with the memo “Payroll."

21          Overt Act No. 41:      On or about July 23, 2020, defendants

22    R. AYVAZYAN and TERABELIAN caused approximately $238,614, which in

23    part came from the Voyage Limo PPP loan proceeds, to be transferred

24    from the Runyan Tax Bank 2 Account to Escrow Company 2 to be used as

25    part of the approximately $1,000,000 purchase price for Residential

26    Property 2, which was purchased in the name of defendant R.

27    AYVAZYAN’s alias “Iuliia Zhadko.”

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1                             Timeline Transport EIDL Loan
2           Overt Act No. 42:      On or about June 15, 2020, defendant

3     R. AYVAZYAN, using the alias “Iuliia Zhadko,” together with other

4     coconspirators, submitted and caused to be submitted to the SBA an

5     application in the name of Timeline Transport, Inc. (“Timeline

6     Transport”) seeking an EIDL loan in the amount of approximately

7     $150,000, which application: (a) falsely represented that “Iuliia

8     Zhadko” had owned Timeline Transport since 2016 and was the company’s

9     Chief Executive Officer; (b) falsely represented that Timeline

10    Transport had 22 employees, including employees for whom it had paid

11    wages and payroll taxes; and (c) falsely certified Timeline Transport

12    would use the loan proceeds for permissible business purposes.

13          Overt Act No. 43:      On or about June 22, 2020, defendant

14    R. AYVAZYAN, together with other coconspirators, caused the SBA to

15    wire approximately $149,900 in proceeds from the Timeline Transport

16    EIDL loan to the Timeline Transport Bank 1 Account.

17          Overt Act No. 44:      On or about June 24, 2020, defendant

18    R. AYVAZYAN, together with other coconspirators, caused approximately

19    $110,000, which in substantial part came from the Timeline Transport

20    EIDL loan proceeds, to be wired from the Timeline Transport Bank 1

21    Account to Escrow Company 1 to be used as part of the $3,250,000

22    purchase price for Residential Property 1, which was purchased in the

23    names of defendants R. AYVAZYAN and TERABELIAN.

24                           Redline Auto Mechanics PPP Loan
25          Overt Act No. 45:      On or about June 25, 2020, defendant

26    GRIGORYAN, using defendant GRIGORYAN’s alias “Anton Kudiumov,”

27    together with other coconspirators, submitted and caused to be

28    submitted to Lender B an application in the name of Redline Auto

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1     Mechanics seeking a PPP loan in the amount of $276,650, which

2     application: (a) falsely represented that Redline Auto Mechanics had

3     22 employees, including employees for whom it had paid wages and

4     payroll taxes; and (b) falsely certified Redline Auto Mechanics would

5     use the loan proceeds only for permissible business purposes.

6           Overt Act No. 46:      On or about June 25, 2020, defendant

7     GRIGORYAN, together with other coconspirators, submitted and caused

8     to be submitted to Lender B false documents in support of the Redline

9     Auto Mechanics PPP loan application, including a fake California

10    driver’s license in the name of “Anton Kudiumov,” and a fake IRS Form

11    940 for 2019, which falsely represented that it had been prepared by

12    A.F., a professional tax preparer.

13          Overt Act No. 47:      On or about June 29, 2020, defendant

14    GRIGORYAN, together with other coconspirators, caused Lender B to

15    wire approximately $276,600 in proceeds from the Redline Auto

16    Mechanics PPP loan to the Redline Auto Mechanics Bank 2 Account.

17          Overt Act No. 48:      On or about June 29, 2020, defendant

18    GRIGORYAN, together with other coconspirators, caused a total of

19    approximately $115,000, which was comprised in substantial part of

20    the Redline Auto Mechanics PPP loan proceeds, to be transferred from

21    Redline Auto Mechanics Bank 2 Account to the Kudiumov Bank 2 Account.

22          Overt Act No. 49:      On or about July 9, 2020, defendant

23    GRIGORYAN, together with other coconspirators, caused approximately

24    $93,200, which was comprised in substantial part from the Redline

25    Auto Mechanics PPP loan proceeds, to be transferred from the Kudiumov

26    Bank 2 Account to Escrow Company 3 to be used as part of the

27    approximately $600,000 purchase price for Residential Property 3,

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1     which was purchased in the name of defendant TERABELIAN’s alias

2     “Viktoria Kauichko.”

3                              Runyan Tax Service PPP Loan
4           Overt Act No. 50:      On or about July 13, 2020, defendants

5     R. AYVAZYAN and TERABELIAN, using defendant TERABELIAN’s alias

6     “Viktoria Kauichko,” together with other coconspirators, submitted

7     and caused to be submitted to Lender A an application in the name of

8     Runyan Tax Service, Inc. (“Runyan Tax Service”) seeking a PPP loan in

9     the amount of $276,653, which application: (a) falsely represented

10    that Runyan Tax Service had 22 employees, including employees for

11    whom it had paid wages and payroll taxes; and (b) falsely certified

12    Runyan Tax Service would use the loan proceeds only for permissible

13    business purposes.

14          Overt Act No. 51:      On or about July 13, 2020, defendants

15    R. AYVAZYAN and TERABELIAN, together with other coconspirators,

16    submitted and caused to be submitted to Lender A false documents in

17    support of the Runyan Tax Service PPP loan application, including a

18    fraudulent California driver’s license purportedly belonging to

19    “Viktoria Kauichko,” and a federal tax filing representing “Viktoria

20    Kauichko” as Runyan Tax Service’s President, even though defendants

21    R. AYVAZYAN and TERABELIAN knew at the time that “Viktoria Kauichko”

22    was a fake identity.

23           Overt Act No. 52:     On or about July 21, 2020, defendants

24    R. AYVAZYAN and TERABELIAN, together with other coconspirators,

25    caused Lender A to wire approximately $276,653 in proceeds from the

26    Runyan Tax Service PPP loan to the Runyan Tax Bank 2 Account.

27          Overt Act No. 53:      On or about July 23, 2020, defendants

28    R. AYVAZYAN and TERABELIAN, together with other coconspirators,

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1     caused approximately $238,614, which in substantial part came from

2     the Runyan Tax Service PPP loan proceeds, to be transferred from the

3     Runyan Tax Bank 2 Account to Escrow Company 2 to be used as part of

4     the approximately $1,000,000 purchase price for Residential Property

5     2, which was purchased in the name of defendant R. AYVAZYAN’s alias

6     “Iuliia Zhadko.”

7                                 Mod Interiors PPP Loan
8           Overt Act No. 54:      On or about July 21, 2020, defendants

9     R. AYVAZYAN and TERABELIAN opened an account at Bank 7 in the name of

10    Mod Interiors, Inc. (“Mod Interiors”), and listed N.T., who was a

11    close relative, as the sole signatory.         N.T., however, was deceased,

12    as he had died three days earlier.

13          Overt Act No. 55:      On or about July 23, 2020, defendants

14    R. AYVAZYAN and TERABELIAN, using the name of N.T., together with

15    other coconspirators, submitted and caused to be submitted to Lender

16    F an application in the name of Mod Interiors seeking a PPP loan in

17    the amount of $384,150, which application: (a) falsely represented

18    that N.T. was Mod Interiors’ President; (b) falsely represented that

19    Mod Interiors had 36 employees, including employees for whom it had

20    paid wages and payroll taxes; and (c) included, as a supporting

21    record, a copy of N.T.’s California driver’s license.

22          Overt Act No. 56:      On or about July 23, 2020, defendants

23    R. AYVAZYAN and TERABELIAN submitted and caused to be submitted to

24    Lender F false documents in support of the Mod Interiors PPP loan

25    application, including fake IRS Forms 1120-S and 940, which falsely

26    represented that they had been prepared by L.O., a professional tax

27    preparer.

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1           Overt Act No. 57:      On or about July 31, 2020, defendants

2     R. AYVAZYAN and TERABELIAN, together with other coconspirators,

3     caused Lender F to wire approximately $384,150 in proceeds from the

4     Mod Interiors PPP loan to Mod Interiors Bank 7 Account.

5           Overt Act No. 58:      In or around August 2020, defendants

6     R. AYVAZYAN and TERABELIAN, together with other coconspirators,

7     caused a total of approximately $74,616, which in substantial part

8     came from the Mod Interiors PPP loan proceeds, to be transferred from

9     the Mod Interiors Bank 7 Account to the Runyan Tax Bank 2 Account.

10                           Turing Info Solutions PPP Loan
11          Overt Act No. 59:      On or about August 3, 2020, defendant

12    R. AYVAZYAN, using his alias “Iuliia Zhadko,” together with other

13    coconspirators, submitted and caused to be submitted to Lender F an

14    application in the name of Turing Info Solutions Inc. (“Turing

15    Info”), seeking a PPP loan in the amount of $384,150.

16          Overt Act No. 60:      On or about August 3, 2020, in connection

17    with the Turing Info PPP loan application, defendant R. AYVAZYAN,

18    together with other coconspirators, submitted and caused to be

19    submitted to Lender F a fake California driver’s license in the name

20    of “Iuliia Zhadko” and fake IRS Forms 940 and 1120-S, which falsely

21    represented that each had been prepared by J.R., a professional tax

22    preparer.

23          Overt Act No. 61:      On or about August 25, 2020, defendant

24    R. AYZAYAN, together with other coconspirators, caused Lender F to

25    wire approximately $384,100 in proceeds from the Turing Info PPP loan

26    to the Turing Info Bank 5 Account, which listed defendant

27    R. AYVAZYAN’s alias “Iuliia Zhadko” as the only signatory.

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1                                      A.D. PPP Loan
2           Overt Act No. 62:      On or about August 13, 2020, defendants A.

3     AYVAZYAN and T. DADYAN, using the name of A.D., a real person,

4     together with other coconspirators, submitted and caused to be

5     submitted to Lender F an application in the name of “A.D. DBA Six

6     Star Farms” for a PPP loan in the amount of $244,500, which

7     application: (a) falsely represented that A.D. had 22 employees,

8     including employees for whom A.D had paid wages and payroll taxes;

9     and (b) falsely certified that the purported applicant, A.D., would

10    use the loan proceeds only for permissible business purposes.

11          Overt Act No. 63:      On or about August 13, 2020, defendants A.

12    AYVAZYAN and T. DADYAN, together with other coconspirators, submitted

13    and caused to be submitted to Lender F false documents in support of

14    the A.D. DBA Six Star Farms PPP loan application, including a fake

15    California driver’s license purportedly belonging to A.D., and a fake

16    Form 941, which falsely represented that it had been prepared by

17    A.F., a professional tax preparer, and signed by A.D.

18          Overt Act No. 64:      On or about August 17, 2020, defendants

19    A. AYVAZYAN and T. DADYAN, together with other coconspirators, caused

20    Lender F to wire approximately $244,500 in proceeds from the A.D. DBA

21    Six Star Farms PPP loan to the A.D. Bank 8 Account.

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1                               COUNTS TWO THROUGH TWELVE

2                               [18 U.S.C. §§ 1343, 2(a)]

3                                    [ALL DEFENDANTS]

4           34.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6     A.    THE SCHEME TO DEFRAUD

7           35.   Beginning no later than in or around March 2020 and

8     continuing until at least in or around August 2020, in Los Angeles

9     County, within the Central District of California, and elsewhere,

10    defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T. DADYAN,

11    GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together with others

12    known and unknown to the Grand Jury, knowingly and with intent to

13    defraud, devised, intended to devise, and participated in a scheme to

14    defraud the SBA and financial institutions, and to obtain money and

15    property by means of material false pretenses, representations, and

16    promises, and the concealment of material facts.

17          36.   The fraudulent scheme operated and was carried out, in

18    substance, as follows:

19                a.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

20    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

21    with other co-schemers, used and caused to be used, stolen,

22    fictitious, and synthetic identities of individuals to submit

23    fraudulent applications for PPP and EIDL loans.

24                b.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

25    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

26    with other co-schemers, used and caused to be used, stolen,

27    fictitious, and synthetic business names to submit fraudulent

28    applications for PPP and EIDL loans.

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1                 c.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

2     DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

3     with other co-schemers, made and caused to be made, false statements

4     to the SBA and financial institutions in connection with the

5     fraudulent applications for PPP and EIDL loans, including false

6     representations regarding the number of employees to whom the

7     companies had paid wages and false certifications that the loans

8     would be used for permissible business purposes.

9                 d.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

10    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

11    with other co-schemers, electronically submitted, and caused to be

12    submitted, fictitious documents to the SBA and financial institutions

13    in support of the fraudulent PPP and EIDL loan applications,

14    including false tax documents, payroll records, bank records, and

15    identification documents.

16                e.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

17    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

18    with other co-schemers, directed the other defendants and their co-

19    schemers to deposit PPP and EIDL loan proceeds into bank accounts

20    that defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T. DADYAN,

21    GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, and their co-

22    schemers controlled.

23                f.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

24    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

25    with other co-schemers, laundered and used the fraudulently obtained

26    PPP and EIDL loan proceeds for their own personal benefit and for the

27    benefit of their co-schemers, including for expenses prohibited under

28    the requirements of the PPP and EIDL programs, such as the purchase

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1     of Residential Property 1, Residential Property 2, and Residential

2     Property 3, gold coins, diamonds, jewelry, luxury watches, fine

3     imported furnishings, designer handbags and clothing, cryptocurrency,

4     and securities.

5     B.      USE OF THE WIRES

6             37.    On or about the dates set forth below, in Los Angeles

7     County, within the Central District of California, and elsewhere, for

8     the purpose of executing the above-described scheme to defraud,

9     defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T. DADYAN,

10    GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together with others

11    known and unknown to the Grand Jury, aiding and abetting each other,

12    transmitted and caused the transmission of the following items by

13    means of wire and radio communication in interstate and foreign

14    commerce:

15     COUNT        DATE     INTERSTATE WIRE TRANSMISSION              DEFENDANTS
                                                                       CHARGED
16     TWO          May 1,   Transfer of approximately $182,637        R. AYVAZYAN;
                    2020     in PPP loan proceeds from Lender H,       TERABELIAN;
17                           sent by means of an interstate wire,      A. AYVAZYAN;
18                           into S. Construction Bank 5 Account       T. DADYAN;
                                                                       GRIGORYAN;
19                                                                     HAYRAPETYAN;
                                                                       PARONYAN
20     THREE        May 5,   Transfer of approximately $124,000        R. AYVAZYAN;
                    2020     in PPP loan proceeds from Lender C,       TERABELIAN;
21                           sent by means of an interstate wire,      A. AYVAZYAN;
22                           into Allstate Towing Bank 4 Account       T. DADYAN;
                                                                       GRIGORYAN;
23                                                                     HAYRAPETYAN;
                                                                       PARONYAN
24     FOUR         May 8,   Transfer of approximately $130,000        R. AYVAZYAN;
                    2020     in PPP loan proceeds from Lender B,       TERABELIAN;
25                           sent by means of an interstate wire,      A. AYVAZYAN;
                             into TQC Bank 3 Account                   T. DADYAN;
26
                                                                       GRIGORYAN;
27                                                                     HAYRAPETYAN;
                                                                       PARONYAN
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1      COUNT    DATE       INTERSTATE WIRE TRANSMISSION                DEFENDANTS
                                                                       CHARGED
2      FIVE     May 11,    Transfer of approximately $137,500          R. AYVAZYAN;
                2020       in PPP loan proceeds from Lender E,         TERABELIAN;
3                          sent by means of an interstate wire,        A. AYVAZYAN;
4                          into Secureline Realty Bank 6               T. DADYAN;
                           Account                                     GRIGORYAN;
5                                                                      HAYRAPETYAN;
                                                                       PARONYAN
6      SIX      May 11,    Transfer of approximately $130,187          R. AYVAZYAN;
                2020       in PPP loan proceeds from Lender B,         TERABELIAN;
7                          sent by means of an interstate wire,        A. AYVAZYAN;
8                          into Redline Auto Collision Bank 5          T. DADYAN;
                           Account                                     GRIGORYAN;
9                                                                      HAYRAPETYAN;
                                                                       PARONYAN
10     SEVEN    May 20,    Transfer of approximately $157,500          ALL
                2020       in PPP loan proceeds from Lender B,         DEFENDANTS
11                         sent by means of an interstate wire,
                           into Voyage Limo Bank 3 Account
12
       EIGHT    June 16,   Transfer of approximately $149,900          ALL
13              2020       in EIDL loan proceeds from the SBA,         DEFENDANTS
                           sent by means of an interstate wire,
14                         into G&A Diamonds Bank 4 Account
       NINE     June 17,   Transfer of approximately $150,000          ALL
15              2020       in EIDL loan proceeds from the              DEFENDANTS
                           Redline Auto Collision Bank 5
16
                           Account, sent by means of an
17                         interstate wire, to Terabelian Bank
                           2 Account
18     TEN      June 22,   Transfer of approximately $149,900          ALL
                2020       in EIDL loan proceeds from the SBA,         DEFENDANTS
19                         sent by means of an interstate wire,
                           into Timeline Transport Bank 1
20
                           Account
21     ELEVEN July 31,     Transfer of approximately $384,150          ALL
              2020         in PPP loan proceeds from Lender F,         DEFENDANTS
22                         sent by means of an interstate wire,
                           into Mod Interiors Bank 7 Account
23     TWELVE August       Submission of application for PPP           ALL
              13, 2020     loan to Lender F in the name of             DEFENDANTS
24
                           A.D., sent by means of an interstate
25                         wire

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1                            COUNTS THIRTEEN THROUGH TWENTY

2                          [18 U.S.C. §§ 1344(2), 2(a), 2(b)]

3                                    [ALL DEFENDANTS]

4           38.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6     A.    THE SCHEME TO DEFRAUD

7           39.   Beginning no later than in or around March 2020 and

8     continuing until at least in or around August 2020, in Los Angeles

9     County, within the Central District of California, and elsewhere,

10    defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T. DADYAN,

11    GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together with others

12    known and unknown to the Grand Jury, knowingly and with intent to

13    defraud, devised, participated in, and executed a scheme to obtain

14    moneys, funds, credits, assets, and other property owned by and in

15    the custody and control of federally-insured financial institutions

16    by means of material false and fraudulent pretenses, representations,

17    and promises, and the concealment of material facts.

18          40.   The fraudulent scheme operated and was carried out, in

19    substance, as follows:

20                a.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

21    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

22    with other co-schemers, used and caused to be used, stolen,

23    fictitious, and synthetic identities of individuals to submit

24    fraudulent applications for PPP loans.

25                b.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

26    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

27    with other co-schemers, used and caused to be used, stolen,

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1     fictitious, and synthetic business names to submit fraudulent

2     applications for PPP loans.

3                 c.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

4     DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

5     with other co-schemers, made and caused to be made, false statements

6     to the SBA and financial institutions in connection with the

7     fraudulent applications for PPP loans, including false

8     representations regarding the number of employees to whom the

9     companies had paid wages and false certifications that the loans

10    would be used for permissible business purposes.

11                d.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

12    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

13    with other co-schemers, electronically submitted, and caused to be

14    submitted, fictitious documents to the SBA and financial institutions

15    in support of the fraudulent PPP loan applications, including false

16    tax documents, payroll records, bank records, and identification

17    documents.

18                e.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

19    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

20    with other co-schemers, directed the other defendants and their co-

21    schemers to deposit PPP loan proceeds into bank accounts that

22    defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T. DADYAN,

23    GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, and their co-

24    schemers controlled.

25                f.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

26    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

27    with other co-schemers, laundered and used the fraudulently obtained

28    PPP loan proceeds for their own personal benefit and for the benefit

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1     of their co-schemers, including for expenses prohibited under the

2     requirements of the PPP programs, such as the purchase of Residential

3     Property 1, Residential Property 2, and Residential Property 3, gold

4     coins, diamonds, jewelry, luxury watches, fine imported furnishings,

5     designer handbags and clothing, cryptocurrency, and securities.

6     B.    EXECUTIONS OF THE SCHEME

7           41.   On or about the following dates, in Los Angeles County,

8     within the Central District of California, and elsewhere, defendants

9     R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T. DADYAN, GRIGORYAN,

10    HAYRAPETYAN, PARONYAN, and V. DADYAN, together with others known and

11    unknown to the Grand Jury, aiding and abetting each other, committed

12    and willfully caused others to commit the following acts, each of

13    which constituted an execution of the fraudulent scheme:

14     COUNT       DATE         ACT                                    DEFENDANTS
                                                                       CHARGED
15     THIRTEEN    April 18, Submission of application for             R. AYVAZYAN;
                   2020      PPP loan to Lender H in the name          TERABELIAN;
16                           of H. Construction                        A. AYVAZYAN;
                                                                       T. DADYAN;
17                                                                     GRIGORYAN;
                                                                       HAYRAPETYAN;
18                                                                     PARONYAN
       FOURTEEN    April 30, Submission of application for             R. AYVAZYAN;
19                 2020      PPP loan to Lender B in the name          TERABELIAN;
                             of TQC                                    A. AYVAZYAN;
20                                                                     T. DADYAN;
                                                                       GRIGORYAN;
21                                                                     HAYRAPETYAN;
                                                                       PARONYAN
22     FIFTEEN     May 2,       Submission of application for          R. AYVAZYAN;
                   2020         PPP loan to Lender C in the name       TERABELIAN;
23                              of Allstate Towing                     A. AYVAZYAN;
24                                                                     T. DADYAN;
                                                                       GRIGORYAN;
25                                                                     HAYRAPETYAN;
                                                                       PARONYAN
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1      COUNT       DATE         ACT                                    DEFENDANTS
                                                                       CHARGED
2      SIXTEEN     May 7,       Submission of application for          R. AYVAZYAN;
                   2020         PPP loan to Lender B in the name       TERABELIAN;
3                               of Redline Auto Collision              A. AYVAZYAN;
4                                                                      T. DADYAN;
                                                                       GRIGORYAN;
5                                                                      HAYRAPETYAN;
                                                                       PARONYAN
6      SEVENTEEN May 9,         Submission of application for          R. AYVAZYAN;
                 2020           PPP loan to Lender E in the name       TERABELIAN;
7                               of Secureline Realty                   A. AYVAZYAN;
8                                                                      T. DADYAN;
                                                                       GRIGORYAN;
9                                                                      HAYRAPETYAN;
                                                                       PARONYAN
10     EIGHTEEN    May 18,      Submission of application for          ALL
                   2020         PPP loan to Lender B in the name       DEFENDANTS
11                              of Voyage Limo
       NINETEEN    June 25,     Submission of application for          ALL
12                 2020         PPP loan to Lender B in the name       DEFENDANTS
13                              of Redline Auto Mechanics
       TWENTY      July 13,     Submission of application for          ALL
14                 2020         PPP loan to Lender A in the name       DEFENDANTS
                                of Runyan Tax Service
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1                                    COUNT TWENTY-ONE

2                           [18 U.S.C. §§ 1028A(a)(1), 2(b)]

3                                [Defendant R. AYVAZYAN]

4           42.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6           43.   Beginning no later than in or around March 2020 and

7     continuing until at least in or around August 2020, in Los Angeles

8     County, within the Central District of California, and elsewhere,

9     defendant R. AYVAZYAN knowingly transferred, possessed, and used, and

10    willfully caused to be transferred, possessed, and used, without

11    lawful authority, a means of identification that defendant

12    R. AYVAZYAN knew belonged to another person, namely, the name of

13    M.Z., during and in relation to bank fraud, a felony violation of

14    Title 18, United States Code, Section 1344(2), as charged in Count

15    Fourteen of this First Superseding Indictment.

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1                                    COUNT TWENTY-TWO

2                        [18 U.S.C. §§ 1028A(a)(1), 2(a), 2(b)]

3                       [Defendants R. AYVAZYAN and TERABELIAN]

4           44.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6           45.   Beginning no later than in or around July 2020 and

7     continuing until at least in or around August 2020, in Los Angeles

8     County, within the Central District of California, and elsewhere,

9     defendants R. AYVAZYAN and TERABELIAN, each aiding and abetting the

10    other, knowingly transferred, possessed, and used, and willfully

11    caused to be transferred, possessed, and used, without lawful

12    authority, means of identification that defendants R. AYVAZYAN and

13    TERABELIAN knew belonged to another person, namely, the name and

14    California driver’s license number of N.T., during and in relation to

15    wire fraud, a felony violation of Title 18, United States Code,

16    Section 1343, as charged in Count Eleven of this First Superseding

17    Indictment.

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1                                   COUNT TWENTY-THREE

2                           [18 U.S.C. §§ 1028A(a)(1), 2(b)]

3                                 [Defendant GRIGORYAN]

4           46.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6           47.   Beginning no later than in or around June 2020 and

7     continuing until at least in or around August 2020, in Los Angeles

8     County, within the Central District of California, and elsewhere,

9     defendant GRIGORYAN knowingly transferred, possessed, and used, and

10    willfully caused to be transferred, possessed, and used, without

11    lawful authority, a means of identification that defendant GRIGORYAN

12    knew belonged to another person, namely, the name of A.F., during and

13    in relation to bank fraud, a felony violation of Title 18, United

14    States Code, Section 1344(2), as charged in Count Nineteen of this

15    First Superseding Indictment.

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1                                    COUNT TWENTY-FOUR

2                        [18 U.S.C. §§ 1028A(a)(1), 2(a), 2(b)]

3                        [Defendants A. AYVAZYAN and T. DADYAN]

4           48.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6           49.   Beginning no later than in or around June 2020 and

7     continuing until at least in or around August 2020, in Los Angeles

8     County, within the Central District of California, and elsewhere,

9     defendants A. AYVAZYAN and T. DADYAN, each aiding and abetting the

10    other, knowingly transferred, possessed, and used, and willfully

11    caused to be transferred, possessed, and used, without lawful

12    authority, means of identification that defendants A. AYVAZYAN and T.

13    DADYAN knew belonged to another person, namely, the name and date of

14    birth of A.D., during and in relation to wire fraud, a felony

15    violation of Title 18, United States Code, Section 1343, as charged

16    in Count Twelve of this First Superseding Indictment.

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1                                    COUNT TWENTY-FIVE

2                           [18 U.S.C. §§ 1028A(a)(1), 2(b)]

3                                [Defendant HAYRAPETYAN]

4           50.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6           51.   Beginning no later than in or around April 2020 and

7     continuing until at least in or around August 2020, in Los Angeles

8     County, within the Central District of California, and elsewhere,

9     defendant HAYRAPETYAN knowingly transferred, possessed, and used, and

10    willfully caused to be transferred, possessed, and used, without

11    lawful authority, a means of identification that defendant

12    HAYRAPETYAN knew belonged to another person, namely, the name and

13    social security number of M.H., during and in relation to bank fraud,

14    a felony violation of Title 18, United States Code, Section 1344(2),

15    as charged in Count Thirteen of this First Superseding Indictment.

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1                                    COUNT TWENTY-SIX

2                                 [18 U.S.C. § 1956(h)]

3                                    [ALL DEFENDANTS]

4           52.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6     A.    THE OBJECTS OF THE CONSPIRACY

7           53.   Beginning no later than in or around March 2020 and

8     continuing until at least in or around October 2020, in Los Angeles

9     County, within the Central District of California, and elsewhere,

10    defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T. DADYAN,

11    GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN conspired with one

12    another and with others known and unknown, to commit offenses against

13    the United States in violation of Title 18, United States Code,

14    Section 1956, to wit:

15                a.    to knowingly conduct and attempt to conduct a

16    financial transaction involving the proceeds of specified unlawful

17    activity, that is, wire fraud and bank fraud, knowing that the

18    transaction was designed in whole and in part to conceal and disguise

19    the nature, location, source, ownership, and control of the proceeds

20    of specified unlawful activity, in violation of Title 18, United

21    States Code, Section 1956(a)(1)(B)(i); and

22                b.    to knowingly engage and attempt to engage in monetary

23    transactions in criminally derived property of a value greater than

24    $10,000, such property having been derived from a specified unlawful

25    activity, that is, bank and wire fraud, in violation of Title 18,

26    United States Code, Section 1957.

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1     B.    THE MANNER AND MEANS OF THE CONSPIRACY

2           53.   The objects of the conspiracy were carried out, and to be

3     carried out, as follows:

4                 a.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

5     DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

6     with other coconspirators, submitted and caused the submission of

7     fraudulent PPP and EIDL loan applications, which caused the SBA and

8     SBA-approved lenders, including lenders who were federally-insured

9     financial institutions, to wire loan proceeds to bank accounts in the

10    names of the entities used to obtain such loans.

11                b.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

12    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

13    with other conspirators, transferred and caused the transfer of the

14    loan proceeds, including in financial transactions of $10,000 or

15    greater, to secondary accounts under their control, including in the

16    names of fictitious identities, and in order to conceal the true

17    nature, location, source, ownership, and control of the funds.

18                c.    Defendants R. AYVAZYAN, TERABELIAN, A. AYVAZYAN, T.

19    DADYAN, GRIGORYAN, HAYRAPETYAN, PARONYAN, and V. DADYAN, together

20    with other conspirators, spent the PPP and EIDL fraud proceeds for

21    their own personal benefit and for the benefit of their

22    coconspirators, including for expenses prohibited under the

23    requirements of the PPP and EIDL programs, such as the purchase of

24    Residential Property 1, Residential Property 2, and Residential

25    Property 3, gold coins, diamonds, jewelry, luxury watches, fine

26    imported furnishings, designer handbags and clothing, cryptocurrency,

27    and securities.

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1     C.    OVERT ACTS

2           54.   The Grand Jury re-alleges paragraph 32 of this First

3     Superseding Indictment as a description of the overt acts, among

4     others, committed and willfully caused to be committed in furtherance

5     of the conspiracy and used to accomplish its objects, within the

6     Central District of California.

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1                                   COUNT TWENTY-SEVEN

2                        [18 U.S.C. §§ 1956(a)(1)(B)(i), 2(b)]

3                                  [Defendant V. DADYAN]

4           55.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6           CONCEALMENT MONEY LAUNDERING

7           56.   On or about July 3, 2020, in Los Angeles County, within the

8     Central District of California, and elsewhere, defendant V. DADYAN,

9     and others known and unknown to the Grand Jury, knowingly conducted,

10    and willfully caused others to conduct, a financial transaction

11    involving the proceeds of specified unlawful activity, that is,

12    conspiracy to commit bank and wire fraud, in violation of Title 18,

13    United States Code, Section 1349, wire fraud in violation of Title

14    18, United States Code, Section 1343, and bank fraud, in violation of

15    Title 18, United States Code, Section 1344(2), knowing that the

16    transaction was designed in whole and in part to conceal and disguise

17    the nature, location, source, ownership, and control of such

18    proceeds, to wit: a wire transfer of $155,000, which in substantial

19    part came from the Voyage Limo PPP loan proceeds, from the Voyage

20    Limo Bank 3 Account to Runyan Tax Bank 2 Account with the memo

21    “Payroll.”

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1                        COUNTS TWENTY-EIGHT THROUGH THIRTY-TWO

2                     [18 U.S.C. §§ 1956(a)(1)(B)(i), 2(b), 3147]

3                                 [Defendant R. AYVAZYAN]

4           57.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6     A.    CONCEALMENT MONEY LAUNDERING

7           58.   Beginning no later than in or around December 2020 and

8     continuing until at least in or around January 2021, in Los Angeles

9     County, within the Central District of California, and elsewhere,

10    defendant R. AYVAZYAN, and others known and unknown to the Grand

11    Jury, knowingly conducted, and willfully caused others to conduct,

12    the following financial transactions involving the proceeds of

13    specified unlawful activity, that is, conspiracy to commit bank and

14    wire fraud, in violation of Title 18, United States Code, Section

15    1349, wire fraud in violation of Title 18, United States Code,

16    Section 1343, and bank fraud, in violation of Title 18, United States

17    Code, Section 1344(2), knowing that the transactions were designed in

18    whole and in part to conceal and disguise the nature, location,

19    source, ownership, and control of such proceeds:

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       COUNT           DATE             TRANSACTION
21
       TWENTY-EIGHT    December 21,     Transfer of $47,000 from Turing Info
22                     2020             Bank 5 Account to Zhadko Bank 5 Account
       TWENTY-NINE     December 22,     Transfer of $86,000 from Turing Info
23                     2020             Bank 5 Account to Zhadko Bank 5 Account
       THIRTY          December 23,     Transfer of $50,000 from Zhadko Bank 5
24                     2020             Account to Online Broker account ending
                                        -3630, which was opened on 12/21/2020 in
25                                      the name of Iuliia Zhadko
       THIRTY-ONE      December 24,     Transfer of $75,000 from Zhadko Bank 5
26                     2020             Account to Online Broker account ending
                                        -3630, which was opened on 12/21/2020 in
27                                      the name of Iuliia Zhadko
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1      COUNT           DATE             TRANSACTION
2      THIRTY-TWO      January 13,      Transfer of $22,000 from Turing Info
                       2021             Bank 5 Account to Digital Currency
3                                       Exchange account ending -8efe, which was
                                        opened on 01/07/2021 in the name of
4                                       Iuliia Zhadko
5     B.    OFFENSE COMMITTED WHILE ON RELEASE
6           59.   During the commission of the felony offenses described
7     above, defendant R. AYVAZYAN was released pursuant to Title 18,
8     United States Code, Chapter 27, in the criminal case of United States
9     v. Richard Ayvazyan et al., CR 20-579-SVW, in the United States
10    District Court for the Central District of California.
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1                                   COUNT THIRTY-THREE

2                      [18 U.S.C. §§ 1344(2), 2(a), 2(b), 3147]

3                                  [Defendant T. DADYAN]

4           60.   The Grand Jury re-alleges paragraphs 1 through 29 of this

5     First Superseding Indictment here.

6     A.    THE SCHEME TO DEFRAUD

7           61.   Beginning no later than in or around January 2021 and

8     continuing until at least in or around February 2021, in Los Angeles

9     County, within the Central District of California, and elsewhere,

10    defendant T. DADYAN, together with others known and unknown to the

11    Grand Jury, knowingly and with intent to defraud, devised,

12    participated in, and attempted to execute a scheme to obtain moneys,

13    funds, credits, assets, and other property owned by and in the

14    custody and control of Bank 8, a federally-insured financial

15    institution, by means of material false and fraudulent pretenses,

16    representations, and promises, and the concealment of material facts.

17          62.   The fraudulent scheme operated and was carried out, in

18    substance, in the following manner:

19                a.    Defendant T. DADYAN fraudulently opened an account at

20    Bank 8 using victim A.D.’s name (“A.D. Bank 8 Account”).

21                b.    Defendant T. DADYAN fraudulently obtained PPP and EIDL

22    loan funds, including by using victim A.D.’s name, and deposited and

23    transferred the funds in and to the A.D. Bank 8 Account.            As of

24    January 22, 2021, the amount in A.D. Bank 8 Account totaled

25    approximately $302,274.

26                c.    Upon receiving notice that the funds in the A.D. Bank

27    8 Account had been frozen, defendant T. DADYAN repeatedly made

28    telephone calls to Bank 8 falsely representing that T. DADYAN was

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1     A.D. and falsely representing that the frozen funds belonged to A.D.,

2     for the purpose of obtaining those funds.

3     B.    ATTEMPTED EXECUTION OF THE SCHEME

4           63.   On or about January 22, 2021, in Los Angeles County, within

5     the Central District of California, and elsewhere, defendant T.

6     DADYAN, together with others known and unknown to the Grand Jury,

7     aiding and abetting each other, committed and willfully caused others

8     to commit an act which constituted an attempted execution of the

9     fraudulent scheme, specifically, defendant T. DADYAN made a telephone

10    call to Bank 8 and falsely represented that she was A.D., in an

11    effort to obtain from Bank 8 funds in the A.D. Bank 8 Account, when

12    defendant T. DADYAN knew that she was not an authorized signatory on

13    the account, and that the funds in the account were comprised of

14    fraudulently obtained PPP and EIDL loan proceeds, including PPP loan

15    proceeds defendant T. DADYAN had fraudulently obtained using A.D.’s

16    name.

17    C.    OFFENSE COMMITTED WHILE ON RELEASE

18          64.   During the commission of the felony offense described

19    above, defendant T. DADYAN was released pursuant to Title 18, United

20    States Code, Chapter 27, in the criminal case of United States v.

21    Richard Ayvazyan et al., CR 20-579-SVW, in the United States District

22    Court for the Central District of California.

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1                               FORFEITURE ALLEGATION ONE

2                                    [18 U.S.C. § 982]

3           65.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

4     Procedure, notice is hereby given that the United States of America

5     will seek forfeiture as part of any sentence, pursuant to Title 18,

6     United States Code, Section 982(a)(2), and Title 28, United States

7     Code, Section 2461(c), in the event of any defendant’s conviction of

8     the offense set forth in Count One of this First Superseding

9     Indictment.

10          66.   The defendant so convicted shall forfeit to the United

11    States of America the following:

12                a.    all right, title and interest in any and all property,

13    real or personal, constituting, or derived from, any proceeds

14    obtained, directly or indirectly, as a result of the offense,

15    including, but not limited to, certain real property referred to

16    herein as Residential Property 1 located in the County of Los

17    Angeles, State of California, APN 2176-029-031, certain real property

18    referred to herein as Residential Property 2 located in the County of

19    Los Angeles, State of California, APN 5663-036-033, and certain real

20    property referred to herein as Residential Property 3 located in the

21    County of Riverside, State of California, APN 694-331-008; and

22                b.    To the extent such property is not available for

23    forfeiture, a sum of money equal to the total value of the property

24    described in subparagraph (a).

25          67.   Pursuant to Title 21, United States Code, Section 853(p),

26    as incorporated by Title 18, United States Code, Section 982(b) and

27    Title 28, United States Code, Section 2461(c), any defendant so

28    convicted shall forfeit substitute property, up to the total value of

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1     the property described in the preceding paragraph if, as the result

2     of any act or omission of said defendant, the property described in

3     the preceding paragraph, or any portion thereof: (a) cannot be

4     located upon the exercise of due diligence; (b) has been transferred,

5     sold to or deposited with a third party; (c) has been placed beyond

6     the jurisdiction of the court; (d) has been substantially diminished

7     in value; or (e) has been commingled with other property that cannot

8     be divided without difficulty.

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1                               FORFEITURE ALLEGATION TWO

2                 [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

3           68.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

4     Procedure, notice is hereby given that the United States of America

5     will seek forfeiture as part of any sentence, pursuant to Title 18,

6     United States Code, Section 981(a)(1)(C) and Title 28, United States

7     Code, Section 2461(c), in the event of any defendant’s conviction of

8     the offenses set forth in any of Counts Two through Twelve of this

9     First Superseding Indictment.

10          69.   The defendant, if so convicted, shall forfeit to the United

11    States of America the following:

12                a.    all right, title, and interest in any and all

13    property, real or personal, constituting, or derived from, any

14    proceeds traceable to the offenses, including, but not limited to,

15    certain real property referred to herein as Residential Property 1

16    located in the County of Los Angeles, State of California, APN 2176-

17    029-031, certain real property referred to herein as Residential

18    Property 2 located in the County of Los Angeles, State of California,

19    APN 5663-036-033, and certain real property referred to herein as

20    Residential Property 3 located in the County of Riverside, State of

21    California, APN 694-331-008; and

22                b.    to the extent such property is not available for

23    forfeiture, a sum of money equal to the total value of the property

24    described in subparagraph (a).

25          70.   Pursuant to Title 21, United States Code, Section 853(p),

26    as incorporated by Title 28, United States Code, Section 2461(c), the

27    defendant, if so convicted, shall forfeit substitute property, up to

28    the value of the property described in the preceding paragraph if, as

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1     the result of any act or omission of the defendant, the property

2     described in the preceding paragraph or any portion thereof

3     (a) cannot be located upon the exercise of due diligence; (b) has

4     been transferred, sold to, or deposited with a third party; (c) has

5     been placed beyond the jurisdiction of the court; (d) has been

6     substantially diminished in value; or (e) has been commingled with

7     other property that cannot be divided without difficulty.

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1                              FORFEITURE ALLEGATION THREE

2                                    [18 U.S.C. § 982]

3           71.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

4     Procedure, notice is hereby given that the United States of America

5     will seek forfeiture as part of any sentence, pursuant to Title 18,

6     United States Code, Section 982(a)(2), and Title 28, United States

7     Code, Section 2461(c), in the event of any defendant’s conviction of

8     the offenses set forth in any of Counts Thirteen through Twenty and

9     Thirty-Three of this First Superseding Indictment.

10          72.   Any defendant so convicted shall forfeit to the United

11    States of America the following:

12                a.    all right, title and interest in any and all property,

13    real or personal, constituting, or derived from, any proceeds

14    obtained, directly or indirectly, as a result of the offense,

15    including, but not limited to, certain real property referred to

16    herein as Residential Property 1 located in the County of Los

17    Angeles, State of California, APN 2176-029-031, certain real property

18    referred to herein as Residential Property 2 located in the County of

19    Los Angeles, State of California, APN 5663-036-033, and certain real

20    property referred to herein as Residential Property 3 located in the

21    County of Riverside, State of California, APN 694-331-008; and

22                b.    to the extent such property is not available for

23    forfeiture, a sum of money equal to the total value of the property

24    described in subparagraph (a).

25          73.   Pursuant to Title 21, United States Code, Section 853(p),

26    as incorporated by Title 18, United States Code, Section 982(b) and

27    Title 28, United States Code, Section 2461(c), any defendant so

28    convicted shall forfeit substitute property, up to the total value of

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1     the property described in the preceding paragraph if, as the result

2     of any act or omission of said defendant, the property described in

3     the preceding paragraph, or any portion thereof: (a) cannot be

4     located upon the exercise of due diligence; (b) has been transferred,

5     sold to or deposited with a third party; (c) has been placed beyond

6     the jurisdiction of the court; (d) has been substantially diminished

7     in value; or (e) has been commingled with other property that cannot

8     be divided without difficulty.

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1                               FORFEITURE ALLEGATION FOUR

2                 [18 U.S.C. §§ 982 and 1028 and 28 U.S.C. § 2461(c)]

3           74.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

4     Procedure, notice is hereby given that the United States of America

5     will seek forfeiture as part of any sentence, pursuant to Title 18,

6     United States Code, Sections 982 and 1028 and Title 28, United States

7     Code, Section 2461(c) in the event of the conviction of defendants

8     RICHARD AYVAZYAN, also known as (“aka”) “Richard Avazian” and “Iuliia

9     Zhadko,” MARIETTA TERABELIAN, aka “Marietta Abelian” and “Viktoria

10    Kauichko,” ARTUR AYVAZYAN, aka “Arthur Ayvazyan,” TAMARA DADYAN,

11    MANUK GRIGORYAN, aka “Mike Grigoryan” and “Anton Kudiumov,” and ARMAN

12    HAYRAPETYAN, of the offenses set forth in Counts Twenty-One through

13    Twenty-Five of this First Superseding Indictment.

14          75.   The defendants, if so convicted, shall forfeit to the

15    United States of America the following:

16                a.    all right, title and interest in any and all property,

17    real or personal, constituting, or derived from, any proceeds

18    obtained, directly or indirectly, as a result of the offense,

19    including, but not limited to, certain real property referred to

20    herein as Residential Property 1 located in the County of Los

21    Angeles, State of California, APN 2176-029-031, certain real property

22    referred to herein as Residential Property 2 located in the County of

23    Los Angeles, State of California, APN 5663-036-033, and certain real

24    property referred to herein as Residential Property 3 located in the

25    County of Riverside, State of California, APN 694-331-008;

26                b.    any personal property used or intended to be used to

27    commit the offense; and

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1                 c.    to the extent such property is not available for

2     forfeiture, a sum of money equal to the total value of the property

3     described in subparagraphs (a) and (b).

4           76.   Pursuant to Title 21, United States Code, Section 853(p),

5     as incorporated by Title 18, United States Code, Sections 982(b) and

6     1028(g), the defendants, if so convicted, shall forfeit substitute

7     property, up to the total value of the property described in the

8     preceding paragraph if, as the result of any act or omission of the

9     defendant, the property described in the preceding paragraph, or any

10    portion thereof: (a) cannot be located upon the exercise of due

11    diligence; (b) has been transferred, sold to or deposited with a

12    third party; (c) has been placed beyond the jurisdiction of the

13    court; (d) has been substantially diminished in value; or (e) has

14    been commingled with other property that cannot be divided without

15    difficulty.

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1                               FORFEITURE ALLEGATION FIVE

2                      [18 U.S.C. § 982 and 28 U.S.C. § 2461(c)]

3           77.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

4     Procedure, notice is hereby given that the United States of America

5     will seek forfeiture as part of any sentence, pursuant to Title 18,

6     United States Code, Section 982(a)(1), and Title 28, United States

7     Code, Section 2461(c), in the event of any defendant’s conviction of

8     the offenses set forth in any of Counts Twenty-Six through Thirty-Two

9     of this First Superseding Indictment.

10          78.   The defendant so convicted shall forfeit to the United

11    States of America the following:

12                a.    all right, title and interest in any and all property,

13    real or personal, involved in such offense, and any property

14    traceable to such property, including, but not limited to, certain

15    real property referred to herein as Residential Property 1 located in

16    the County of Los Angeles, State of California, APN 2176-029-031,

17    certain real property referred to herein as Residential Property 2

18    located in the County of Los Angeles, State of California, APN 5663-

19    036-033, and certain real property referred to herein as Residential

20    Property 3 located in the County of Riverside, State of California,

21    APN 694-331-008; and

22                b.    To the extent such property is not available for

23    forfeiture, a sum of money equal to the total value of the property

24    described in subparagraph (a).

25          Pursuant to Title 21, United States Code, Section 853(p), as

26    incorporated by Title 18, United States Code, Section 982(b)(1), and

27    Title 18, United States Code, Section 982(b)(2), any defendant so

28    convicted shall forfeit substitute property, up to the total value of

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1     the property described in the preceding paragraph if, as the result

2     of any act or omission of said defendant, the property described in

3     the preceding paragraph, or any portion thereof: (a) cannot be

4     located upon the exercise of due diligence; (b) has been transferred,

5     sold to or deposited with a third party; (c) has been placed beyond

6     the jurisdiction of the court; (d) has been substantially diminished

7     in value; or (e) has been commingled with other property that cannot

8     be divided without difficulty.       Substitution of assets shall not be

9     ordered, however, where the convicted defendant acted merely as an

10    intermediary who handled but did not retain the property in the

11    course of the money laundering offense unless the defendant, in

12    committing the offense or offenses giving rise to the forfeiture,

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1     conducted three or more separate transactions involving a total of

2     $100,000.00 or more in any twelve-month period.

3

4                                               A TRUE BILL
5
                                                        /S/
6                                               Foreperson

7      TRACY L. WILKISON
       Acting United States Attorney
8

9

10     BRANDON D. FOX
       Assistant United States Attorney
11     Chief, Criminal Division

12     RANEE A. KATZENSTEIN
       Assistant United States Attorney
13     Chief, Major Frauds Section

14     DANIEL A. KAHN
       Acting Chief, Fraud Section
15     Criminal Division
       United States Department of Justice
16
       KRISTEN A. WILLIAMS
17     Assistant United States Attorney
       Deputy Chief, Major Frauds Section
18
       SCOTT PAETTY
19     Assistant United States Attorney
       Major Frauds Section
20
       BRIAN FAERSTEIN
21     Assistant United States Attorney
       Environmental and Community Safety
22
       Crimes Section
23
       CHRISTOPHER FENTON
24     Trial Attorney, Fraud Section
       Criminal Division
25     United States Department of Justice

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